Case 2:85-cv-04544-DMG-AGR Document 488 Filed 09/10/18 Page 1 of 7 Page ID #:24713



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                       UNITED STATES DISTRICT COURT
18
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
20                                           )
21           Plaintiffs,                     )   JOINT STATUS REPORT RE
                                             )   ORDER RE PROPOSED SPECIAL
22                v.                         )   MASTER/INDEPENDENT
23
                                             )   MONITOR
     LORETTA E. LYNCH, Attorney              )
24   General of the United States; et al.,   )
25
                                             )
             Defendants.                     )
26                                           )
                                             )
Case 2:85-cv-04544-DMG-AGR Document 488 Filed 09/10/18 Page 2 of 7 Page ID #:24714



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           On September 4, 2018, the Court issued an order proposing to “appoint
 2
     Retired United States Immigration Judge Carol A. King to the position of Special
 3

 4   Master/Independent Monitor.” ECF No. 484. The Court asked the parties to “file a

 5   joint status report indicating whether they stipulate to the appointment of Retired
 6
     Immigration Judge King as the Special Master/Independent Monitor or, if not, they
 7

 8
     shall state any objections they may have to her appointment.” Id. The parties state

 9   their positions below.
10
     PLAINTIFFS’ POSITION
11

12
           Plaintiffs are prepared to stipulate to the appointment of Retired Immigration

13   Judge Carol King as the Special Master/Independent Monitor. In the event
14
     Defendants object to the appointment of Retired Judge King, Plaintiffs have no
15
     objection to the appointment of Retired Immigration Judge King as the Special
16

17   Master/Independent Monitor.
18
     DEFENDANTS’ POSITION
19
           Defendants respectfully object to the appointment of former immigration
20

21   judge (“IJ”) Carol King as the Flores independent monitor. As an initial matter,
22
     while Defendants agree that former IJ King has significant experience with
23
     immigration law, Defendants object because former IJ King appears to have little
24

25   or no direct experience with U.S. Customs and Border Protection (“CBP”) or U.S.
26
     Immigration and Customs Enforcement (“ICE”) holding and detention facilities
                                               1
Case 2:85-cv-04544-DMG-AGR Document 488 Filed 09/10/18 Page 3 of 7 Page ID #:24715



 1
     themselves, or more specifically with the conditions at such facilities, the
 2
     management of such facilities, or the legal standards applicable to such facilities,
 3

 4   which go beyond substantive immigration law.

 5         Moreover, former IJ King has no demonstrated background in overseeing
 6
     complex litigation or compliance with consent decrees. Immigration judges have
 7

 8
     limited powers delegated to them by regulation to decide individual cases, and only

 9   for matters designated to them under the Immigration and Nationality Act. 8
10
     C.F.R. § 1003.10(b). This is very different from the substantial and complex task
11

12
     of overseeing the operations of multiple agencies as is required in the present

13   matter. Given this lack of experience, Defendants disagree that former IJ King
14
     would have only a “minimal learning curve” in undertaking to serve as an
15
     independent monitor related to the issues in the Court’s June 27, 2017 order.
16

17         Defendants also object to the appointment of former IJ King on the ground
18
     that she has published a writing to promote her law practice that gives the appearance
19
     of a very real and serious bias against the defendants. These sentiments, expressed
20

21   publicly, at the very least create the appearance that former IJ King would not carry
22
     out her duties as special master with the type of impartiality that is required for a
23
     quasi-judicial role. These statements criticize a defendant in this matter – the
24

25   Attorney General – and address policies relating to children subject to the Flores
26
     Agreement.
                                               2
Case 2:85-cv-04544-DMG-AGR Document 488 Filed 09/10/18 Page 4 of 7 Page ID #:24716



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           Specifically, on her law office web site, former IJ King states in the
 2
     “Introduction to Carol King Law Office” that “[t]he current wave of attacks on
 3

 4   immigrants [that] has clearly been manufactured . . . to sow division and grab power”

 5   includes “those who have been so viciously attacked . . . immigrant parents and
 6
     young children.” Introduction to Carol King Law Office, July 9, 2018, available at:
 7

 8
     https://carolkinglawoffice.com/2018/07/09/hello-world/. Former IJ King further

 9   states that “[t]he lack of any ethical, moral or compassionate compass reflected in
10
     the current administration is more disturbing than anything in recent history[,]” and
11

12
     that the “current actions on the part of the President, Attorney General and

13   administration, which reflect only a commitment to power and to hatred, hurt me so
14
     deeply.” Id.
15
           To be sure, there is nothing improper about holding strong views on
16

17   government policies, but public statements such as these are not consistent with
18
     performing the quasi-judicial function of a special master, where officers must
19
     meticulously avoid “[c]onduct that compromises or appears to compromise the
20

21   independence, integrity, and impartiality of a judge” because it “undermines public
22
     confidence in the judiciary.” ABA Model Rules of Judicial Conduct 1.2, Comment
23
     [3]; see id. Comment [5] (“[t]he test for appearance of impropriety is whether the
24

25   conduct would create in reasonable minds a perception that the judge . . . engaged in
26
     other conduct that reflects adversely on the judge’s . . . impartiality”). The published
                                                3
Case 2:85-cv-04544-DMG-AGR Document 488 Filed 09/10/18 Page 5 of 7 Page ID #:24717



 1
     criticism of a named defendant, and of government policies related to children who
 2
     are subject to the Flores Agreement, as an introduction to her law practice do not,
 3

 4   Defendants submit, meet this exacting standard. A reasonable person could question,

 5   in light of such statements, whether former IJ King will be impartial in evaluating
 6
     compliance with this Court’s orders for facilities that are currently operated by
 7

 8
     Defendants CBP and ICE, who are agencies of that same administration against

 9   which former IJ King has a clearly and publicly expressed bias. Defendants therefore
10
     object to the appointment of former IJ King as an independent monitor in this case.
11

12
     DATED:      September 10, 2018        Respectfully submitted,
13

14                                         /s/ Peter A. Schey (with permission)
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15
                                           Center for Human Rights and Constitutional
16                                         Law
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Case 2:85-cv-04544-DMG-AGR Document 488 Filed 09/10/18 Page 6 of 7 Page ID #:24718



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Case 2:85-cv-04544-DMG-AGR Document 488 Filed 09/10/18 Page 7 of 7 Page ID #:24719



 1
                               CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on September 10, 2018, I served the foregoing pleading

 4   with attachments on all counsel of record by means of the District Clerk’s
 5
     CM/ECF electronic filing system.
 6

 7

 8                                                /s/ Sarah B. Fabian
 9                                                SARAH B. FABIAN
                                                  U.S. Department of Justice
10                                                District Court Section
11                                                Office of Immigration Litigation

12                                                Attorney for Defendants
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